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                       IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF OKLAHOMA

   (1) JESSICA CERMAK, an individual,            )
                                                 )
                        Plaintiff,               )
                                                 )
   v.                                            )   Case No.      17-CV-541-GKF-FHM
                                                 )
   (1) TWIN CITY FIRE INSURANCE                  )
   COMPANY, a foreign corporation,               )
                                                 )
                        Defendant.               )
                                                 )
   AND                                           )
                                                 )
   (1) TWIN CITY FIRE INSURANCE                  )
   COMPANY, a foreign corporation,               )
                                                 )
                        Third-Party Plaintiff,   )
                                                 )
   v.                                            )
                                                 )
   (1) SUZANNE MCKOWN, an individual,            )
                                                 )
                        Third-Party Defendant.   )

                   STIPULATION OF DISMISSAL WITH PREJUDICE

          Plaintiff Jessica Cermak, Defendant/Third-Party Plaintiff Twin City Fire Insurance

   Company (“Twin City”), and Third-Party Defendant Suzanne McKown, by and through

   their counsel of record, hereby stipulate to the dismissal of all claims asserted herein with

   prejudice to the re-filing of same, with each party to bear her or its own costs and

   attorney fees, pursuant to FED. R. CIV. P. 41(a)(1)(A)(ii).

          DATED this 3rd day of May, 2018.
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                                      Respectfully submitted,

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                                             -and-




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